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                                                Joint Written Consent of JL Powell, Inc.
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                                                               Complaint for Declaratory Relief
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